
79 B.R. 36 (1984)
FIRST NATIONAL BANK OF WETUMPKA, ALABAMA, Appellant,
v.
William L. SEWELL, Dorothy J. Sewell and Ed W. Harwell, Trustee, Defendants.
Civ. A. No. 83-C-2426-E.
United States District Court, N.D. Alabama, E.D.
February 29, 1984.
Alan D. Levine, Levine &amp; Levine, Birmingham, Ala., for appellant.
Ed W. Harwell, Anniston, Ala., pro se.
Prior report: Bkrtcy., 32 B.R. 116:

ORDER OF DISMISSAL
CLEMON, District Judge.
For the reasons set forth in Southtrust Bank of Alabama v. Grady Lee Black, et al., CV No. 83-HM-2101-W [Available on WESTLAW, DCT database], it is hereby *37 ORDERED, ADJUDGED, DECREED and DECLARED as follows:
1. Appellant FIRST NATIONAL BANK OF WETUMPKA, ALABAMA, was not required to file a financing statement in order to perfect its purchase money security interest in the mobile home involved in this case.
2. The judgment appealed from is hereby REVERSED, with directions that the Bankruptcy Court shall henceforth recognize the security interest of First National Bank of Wetumpka in the 1974 Vagabond Mobile Home as a perfected security interest.
3. The costs of this action are hereby taxed against the defendant trustee, ED W. HARWELL, in his representative capacity.
